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           Q Enter Grade Crossing ID or Address                          List


                  At Grade                      All Grades




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